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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA


IN THE MATTER OF CROSBY MARINE                               DOCKET NO -17-cv-14023
TRANSPORTATION, L.L.C. AND CROSBY
TUGS, L.L.C. AS THE OWNERS AND OWNERS                        SECTION “E” (4)
PRO HOC VICE OF THE M/V DELTA DUCK AND
HER CARGO, ENGINES, TACKLE, GEAR,
APPURTENANCES, ETC. IN REM; AND
BERTUCCI CONTRACTING COMPANY, L.L.C.
AS THE OWNERS AND OWNERS PRO HOC VICE
OF THE BARGE BBL 708 AND HER CARGO,
ENGINES, TACKLE, GEAR, APPURTENANCES,
ETC. IN REM PETITIONING FOR EXONERATION
FROM AND/OR LIMITATION OF LIABILITY

**********************************************************************
   FIRST SUPPLEMENTAL AND AMENDING CLAIMS OF ANGELA HUGGINS
**********************************************************************

      NOW INTO COURT, through undersigned counsel comes Angela Huggins, and for

the purpose of asserting additional claims against the insurers of Crosby Marine

Transportation, LLC, Crosby Tugs, LLC, Bertucci Contacting Company, LLC, the M/V

DELTA DUCK, the Barge BBL 708, Chris Carter, Derek Hebert and against GeoVera

Insurance Company, BIS Services, LLC, and Crosby Dredging, LLC avers as follows:

                                           I.

      Angela Huggins re-alleges and re-avers all of her previous answers, allegations,

claims, demands, etc. set forth in her original Answer, Claims, and Third-Party

Complaints as if restated herein in extenso.

                                           II.

      AND NOW, Angela Huggins, asserts additional claims, Cross Claims, and Third-


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Party Claims against:

                                           1.

       The following provided primary and/or excess umbrella insurance coverage to

Crosby Marine, Crosby Tugs and Crosby Dredging, Chris Carter, Derek Hebert, and the

M/V DELTA DUCK and the Barge BBL 708 (hereinafter collectively referred to as “Crosby

insurers”):

       a.     Atlantic Specialty Insurance Company, a foreign insurance company

              authorized to do and doing business in Louisiana;

       b.     Markel American Insurance Company, a foreign insurance company

              authorized to do and doing business in Louisiana;

       c.     State National Insurance Company, a foreign insurance company

              authorized to do and doing business in Louisiana;

       d.     Navigators Insurance Company, a foreign insurance company authorized

              to do and doing business in Louisiana;

       e.     United States Fire Insurance Company, a foreign insurance company

              authorized to do and doing business in Louisiana;

       f.     Mitsui Sumitomo Insurance Company of America, a foreign insurance

              company authorized to do and doing business in Louisiana;

       g.     Certain Underwriters at Lloyd’s Syndicate 1206 ATL;

       h.     Certain Underwriters at Lloyd’s Syndicate 1897 SKD;

       I.     Certain Underwriters at Lloyd’s Syndicate 1183 TAL;



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       j.     Certain Underwriters at Lloyd’s Syndicate 2007 NVA;

       k.     Certain Underwriters at Lloyd’s Syndicate0382 HDU;

       l.     Certain Underwriters at Lloyd’s Syndicate 1274 AUL;

       m.     Certain Underwriters at Lloyd’s Syndicate 0510 KLN;

       n.     4064/01/7-Swiss Re International SE, a foreign insurance company

              authorized to do and doing business in Louisiana;

       o.     Certain Underwriters at Lloyd’s Syndicate 1861 ATL;

       p.     Certain Underwriters at Lloyd’s Syndicate 1967 WRB;

       q.     Certain Underwriters at Lloyd’s Syndicate 0780 ADV;

       r.     Certain Underwriters at Lloyd’s Syndicate 1225 AES; and

       s.     Certain Underwriters at Lloyd’s Syndicate 0033 HIS.

                                           2.

       The following provided primary and/or excess umbrella insurance coverage to

Bertucci and the Barge BBL 708 (hereinafter collectively referred to as “Bertucci

insurers”):

       a.     Atlantic Specialty Insurance Company, a foreign insurance company

              authorized to do and doing business in Louisiana;

       b.     Markel American Insurance Company, a foreign insurance company

              authorized to do and doing business in Louisiana;

       c.     State National Insurance Company, a foreign insurance company

              authorized to do and doing business in Louisiana;



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      d.     Navigators Insurance Company, a foreign insurance company authorized

             to do and doing business in Louisiana;

      e.     United States Fire Insurance Company, a foreign insurance company

             authorized to do and doing business in Louisiana;

      f.     Mitsui Sumitomo Insurance Company of America, a foreign insurance

             company authorized to do and doing business in Louisiana;

      g.     Certain Underwriters at Lloyd’s Syndicate 1206 ATL;

      h.     Certain Underwriters at Lloyd’s Syndicate 1897 SKD;

      I.     Certain Underwriters at Lloyd’s Syndicate 1183 TAL;

      j.     Certain Underwriters at Lloyd’s Syndicate 2007 NVA;

      k.     Certain Underwriters at Lloyd’s Syndicate 0382 HDU;

      l.     Certain Underwriters at Lloyd’s Syndicate 1274 AUL;

      m.     Certain Underwriters at Lloyd’s Syndicate 0510 KLN;

      n.     Certain Underwriters at Lloyd’s Syndicate 1861 ATL;

      o.     Certain Underwriters at Lloyd’s Syndicate 1967 WRB;

      p.     Certain Underwriters at Lloyd’s Syndicate 0780 ADV; and

      q.     Certain Underwriters at Lloyd’s Syndicate 1225 AES.

                                          3.

      GeoVera Insurance Company is a foreign insurance company authorized to do

and doing business in Louisiana.




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                                             4.

       BIS Services, LLC, is a domestic corporation licensed and doing business in the

State of Louisiana.

                                             5.

       Crosby Dredging, LLC, is a domestic corporation licensed and doing business in

the State of Louisiana.

                                             6.

       This court has jurisdiction and venue over the claims asserted herein on the

same basis that it has jurisdiction and venue over the original matter filed herein and all

claims filed by others.

                                             7.

       At all times material herein, those identified at “Crosby insurers” had issued

insurance policies/coverages to and insured Crosby Marine Transportation, LLC, Crosby

Tugs, LLC, the M/V DELTA DUCK, Crosby Dredging, LLC, Chris Carter, Derek Hebert,

and the Barge BBL 708 for their conduct that caused, in whole or in part, the incident

made the basis of this litigation and, therefore, are solidarily liable with said defendants

and all others against whom claims have been and are being asserted. Said policies

were in full force and effect at the time of the events made the basis of this litigation.

                                            8.

       At all times material herein, those identified as “Bertucci insurers” had issued

insurance policies to and insuring Bertucci Contracting Company, LLC, and the Barge



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BBL 708 for their conduct that caused, in whole or in part, the incident made the basis

of this litigation, and therefore, are solidarily liable with defendants and all others

against whom claims have been and are being asserted. Said policies were in full force

and effect at the time of the events made the basis of this litigation.

                                              9.

       At all time material herein, GeoVera Insurance Company issued a policy of

insurance to Chad Williams, said policy bearing policy no. GC00011809, for his negligent

conduct that caused, in whole or in part, the incident made the basis of this litigation,

and therefore, is solidarily liable with Chad Williams and others against whom claims

have been and are being asserted. Said policy was in full force and effect at the time of

the events made the basis of this litigation.

                                            10.

       BIS Services, LLC, was awarded a contract by the Army Corps of Engineers on or

about March 27, 2017 for the construction of the project known as “West Bank and

Vicinity, Hurricane Storm Damage Risk Reduction System Mitigation, Marsh Creation at

Yankee Pond and Geo-Crib, Jefferson Parish, Louisiana Solicitation No. W912P8-17-B-

002, Contract No. W912P8-17-C-006 (hereinafter BIS-CoE contract).

                                            11.

       The negligence and breach of contract by BIS Services, LLC, of the terms and

provisions and obligations it undertook in the BIS-CoE contract caused, in whole or in

part, the accident made the basis of this litigation as well as the severe injuries to



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Angela Huggins.

                                             12.

       In addition to breaching the terms and provisions and obligations it undertook in

the BIS-CoE contract, causing severe injuries to Angela Huggins, BIS Services, LLC, was

also negligent in fulfilling its duties which caused, in whole or in part, the severe injuries

to Angela Huggins.

                                            13.

       BIS Services, LLC, entered into a subcontract with Crosby Dredging, LLC, under

which Crosby Dredging undertook to perform certain obligations required of BIS in the

BIS-CoE contract. Crosby Dredging failed to properly fulfill its obligations causing the

severe injuries to Angela Huggins.

                                             14.

       The negligence and breach of contract by Crosby Dredging, LLC, as well as

Crosby Marine Transportation, LLC, Crosby Tugs, LLC, as defined above, of the terms

and provisions and obligations it undertook in the BIS-Crosby Dredging subcontract

caused, in whole or in part, the accident made the basis of this litigation as well as the

severe injuries to Angela Huggins.

                                             15.

       In violation of all applicable rules, regulations, and permits, as well as common

sense, BIS Services, LLC, Crosby Dredging, LLC, and Bertucci Contracting Company,

LLC, negligently and grossly negligently failed to comply with their duties, obligations



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and contractual duties to assure that the Barge BBL 708, and the M/V DELTA DUCK,

had the required lighting on the vessels and in proper positions and working order

thereby creating another hazard to navigation and they failed to have competent crews

to operate them.

                                            16.

       BIS Services, LLC, and Crosby Dredging, LLC, in addition Crosby Marine

Transportation, LLC, Crosby Tugs, LLC, and Bertucci Contracting, LLC, knowingly,

negligently, grossly negligently, and in violation of applicable rules, regulations and

permits as well as duties and contractual obligations failed to assure itself that the M/V

DELTA DUCK and the Barge BBL 708 were moored by a competent crew in the proper

location and fashion so as to avoid creating another hazard to navigation.

                                            17.

       Angela Huggins has incurred substantial damages as a result of the injuries that

she sustained in the accident made the basis of this litigation due to the negligence and

gross negligence, as well as the violation of applicable rules, regulations, permits, duties

and contractual obligations by all against whom Angela Huggins is making claims in the

amount of Two Million Five Hundred Thousand Dollars ($2,500,000.00).

                                            18.

       Angela Huggins is also entitled to recover punitive damages, in addition to

compensatory damages, from all against whom they are making claims as a result of

said defendants conduct and pattern of negligence and gross negligence as well as



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violations of rules, regulations, permits, duties and contractual obligations or the result

of the conduct and pattern of negligence and gross negligence as well as violations of

rules, regulations, permits, duties and contractual obligations of their insureds.

                                                          19.

       Angela Huggins is entitled to and prays for a trial by jury on all issues allowed

under the general maritime law against all defendants named herein.

       WHEREFORE, Angela Huggins prays that Crosby Marine Transportation, LLC,

Crosby Tugs, LLC, Bertucci Contracting Company, LLC, Chris Carter, Derek Hebert, Chad

Williams, as well as those identified as “Crosby insurers”, those identified as “Bertucci

insurers”, GeoVera Insurance Company, BIS Services, LLC, and Crosby Dredging, LLC,

prays for judgement against those defendants and in favor of Angela Huggins for all

damages to which she is entitled as asserted herein, for punitive damages, in addition

to all costs, litigation expenses, expert fees and costs, pre and post judgement interest.

Angela Huggins further prays for trial by jury on all issues allowable under the general

maritime law in this matter.

                                                        Respectfully submitted,
                                                        FOLEY, LAMY & JEFFERSON
                                                        s/Timothy K. Lamy
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                                                        Attorney for Angela Huggins
                                                      CERTIFICATE

              I do hereby certify that I have served a copy of the above foregoing
              pleading on all counsel of record by electronic filing, electronic means, hand delivery,
              or by faxing, emailing or mailing same by United States Mail, properly addressed
              and first0class postage prepaid, on this 16th day of May, 2018

                                             s/Timothy K. Lamy
                                             Timothy K. Lamy




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